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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                    :
 GAME PLAN, INC.,                                   :
                                                    :
                               Plaintiff,           :
                                                    :   CIVIL ACTION NO.: 1:20-cv-00455-DLF
                v.                                  :
                                                    :
 UNINTERRUPTED LLC, NIKE, INC.,                     :
 WALT DISNEY COMPANY d/b/a ESPN,                    :
 INC. and TAKE-TWO INTERACTIVE                      :
 SOFTWARE, INC.,                                    :
                                                    :
                               Defendants.



DEFENDANTS UNINTERRUPTED LLC, WALT DISNEY COMPANY d/b/a ESPN, INC.
   AND TAKE-TWO INTERACTIVE SOFTWARE, INC.’S MOTION TO VACATE
       DEFAULT AND TO DISMISS COMPLAINT OF GAME PLAN, INC.

               Pursuant to Rules 4, 17, and 55 of the Federal Rules of Civil Procedure and

LCvR 7(g), and for the reasons set forth in the accompanying Statement of Points and Authorities,

Defendants Uninterrupted LLC (“Uninterrupted”), The Walt Disney Company, inaccurately sued

in this case as Walt Disney Company d/b/a ESPN, Inc. (“ESPN”), and Take-Two Interactive

Software, Inc. (“T2”) (collectively “Moving Defendants”), respectfully submit this motion to

vacate the defaults entered against each of the Moving Defendants and to dismiss Plaintiff Game

Plan, Inc.’s (“Game Plan”) Complaint for failure to effectuate proper and timely service.




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                                         Respectfully submitted,

Dated: June 1, 2020                      /Goutam Patnaik/
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                                         d/b/a ESPN, Inc., and Take-Two Interactive
                                         Software, Inc.




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                    :
 GAME PLAN, INC.,                                   :
                                                    :
                               Plaintiff,           :
                                                    :   CIVIL ACTION NO.: 1:20-cv-00455-DLF
                v.                                  :
                                                    :
 UNINTERRUPTED LLC, NIKE, INC.,                     :
 WALT DISNEY COMPANY d/b/a ESPN,                    :
 INC. and TAKE-TWO INTERACTIVE                      :
 SOFTWARE, INC.,                                    :
                                                    :
                               Defendants.


        STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT OF
DEFENDANTS UNINTERRUPTED LLC, WALT DISNEY COMPANY d/b/a ESPN, INC.
   AND TAKE-TWO INTERACTIVE SOFTWARE, INC.’S MOTION TO VACATE
       DEFAULT AND TO DISMISS COMPLAINT OF GAME PLAN, INC.

                Defendants Uninterrupted LLC (“Uninterrupted”), The Walt Disney Company,

inaccurately sued in this case as Walt Disney Company d/b/a ESPN, Inc. (“ESPN”), and Take-

Two Interactive Software, Inc. (“T2”) (collectively “Moving Defendants”) respectfully submit this

Statement of Points and Authorities in support of the Motion to Vacate Default and to Dismiss the

Complaint of Plaintiff Game Plan, Inc. (“Plaintiff or “Game Plan”).

               Good cause exists to vacate the defaults entered against each of the Moving

Defendants on May 22, 2020 by the clerk of this Court [DKT Nos. 19-21]. Contrary to the affidavit

submitted by its counsel, Plaintiff did not properly serve the Moving Defendants with the

Complaint and a fully executed Summons. Absent proper service, Moving Defendants were, and

continue to be, under no obligation to respond to Plaintiff’s Complaint.

               Furthermore, because Plaintiff failed to properly serve the Moving Defendants in a

timely manner, the Complaint against the Moving Defendants should be dismissed, without

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prejudice, pursuant to Rule 4(m) of the Federal Rules of Civil Procedure.     Finally, Plaintiff’s

Complaint against “ESPN” should also be dismissed because neither of the two different “ESPN”

entities Plaintiff identifies in the Complaint and Summons exists.

I.     RELEVANT FACTS

               On February 18, 2020, Plaintiff initiated this proceeding by filing its Complaint

against Moving Defendants and an additional Defendant, NIKE, Inc. (“NIKE”). [DKT No. 1]. On

March 6, 2020, counsel for Moving Defendants offered to accept service of the Complaint on

behalf of Uninterrupted and ESPN. See Ex. “A.” However, Plaintiff’s counsel rejected the offer

and indicated that he preferred to perfect service under Rule 4(h). See id.




               Plaintiff claims to have served the Complaint and Summons against the Moving

Defendants by first class mail. [DKT No. 18, ¶¶ 2, 4-5]. But in each instance, the attempt was

defective.

       A.      Plaintiff’s Insufficient Attempt to Identify and Serve “ESPN”

               On February 24, 2020, a copy of the Complaint and an unsigned and unsealed

Summons was attempted to be served via first class mail on “WALT DISNEY COMPANY doing

business as ESPN ENTERPRISES” to an address in Burbank, California. See Exhibit “B”, Declaration


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of David Mayer (“Mayer Dec.”), ¶ 3, Ex. 1. The Summons included in the mailing was not signed by

the clerk and did not include the seal of this Court. See id. (and shown below).




               Plaintiff’s Complaint and Summons to “ESPN” also identify two different parties,

neither of which exists as an entity. Specifically, as noted above, the Summons was addressed to

“WALT DISNEY COMPANY doing business as ESPN ENTERPRISES.” Mayer Dec., Ex. 1. By

comparison, Plaintiff’s Complaint identifies “WALT DISNEY COMPANY doing business as

ESPN, Inc.” as a named defendant. [DKT No. 1, ¶ 1] (highlighted below):




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               The two “ESPN” entities identified by Plaintiff in the Complaint (“WALT

DISNEY COMPANY doing business as ESPN, Inc.”) and Summons (“WALT DISNEY

COMPANY doing business as ESPN Enterprises”) do not exist. See Ex. “C”, Declaration of Tonia

H. David-Sinatra (“David-Sinatra Dec.”), ¶¶ 3-5. Counsel for Plaintiff was informed of this fact

in March. See Ex. “D.” Furthermore, although these non-existent entities are alleged to be in

Bristol, Connecticut, in fact The Walt Disney Company has no office or place of business in

Bristol, and has not conducted business as ESPN, Inc., as ESPN Enterprises, or any other “ESPN”

entity. See David-Sinatra Dec.., ¶ 6. To date, Plaintiff has not taken any steps to correct the error,

identify a viable “ESPN” entity that could be sued as a proper defendant, or to otherwise provide

any amended service of process. See Mayer Dec., ¶ 4.

       B.      Plaintiff’s Insufficient Attempt to Serve Uninterrupted

               On March 17, 2020, Uninterrupted received a copy of the Complaint and an unsigned

and unsealed Summons via first class mail. See, Ex. “E”, Declaration of Devin Johnson (“Johnson


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Dec.”), ¶ 3, Ex. 1 (and shown below). Uninterrupted has not received any other attempted or corrected

service from Plaintiff. See id., ¶ 4.




        C.      Plaintiff’s Insufficient Attempt to Serve T2

                On February 26, 2020, T2 received a copy of the Complaint and an unsigned and

unsealed Summons via first class mail, which was postmarked February 21, 2020. See Ex. “F”,

Declaration of Linda Zabriskie (“Zabriskie Dec.”), ¶ 3, Ex. 1 (and shown below). On March 25, 2020,

Plaintiff provided the same unsigned and unsealed Summons and Complaint to CSC, T2’s registered

agent for service of process. See id., ¶ 4. Both attempts at service were deficient, and T2 has not

received any other attempted or corrected service from Plaintiff. See id., ¶ 5.




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               To date, the clerk of this Court still has not issued a signed and sealed Summons

that could be served on T2. [DKT No. 4].

       D.      Plaintiff’s Agreement and Joint Motion with NIKE Did Not Mention or
               Include Any Agreement with Moving Defendants

               On March 12, 2020, NIKE and Plaintiff filed a Joint Stipulation to allow NIKE extra

time to file its responsive pleading (the “Stipulation”). [DKT No. 7]. In preparing the Stipulation,

counsel for Plaintiff acknowledged the Stipulation was to be only for NIKE because all defendants had

not yet been served and other defendants may challenge service. Thus, he did not believe that “all

defendants should have a unified date to answer.” See Ex. “G.”

               In keeping with this sentiment, the explicit terms of the Stipulation only addressed the

deadline for NIKE to submit its responsive pleading, as shown by the excerpts below:



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[Id., p. 1]; and




[Id., p.2].

                   The Stipulation was only signed by counsel for NIKE and Plaintiff, and was

electronically filed by Plaintiff’s counsel. See id. Moving Defendants were not a party to the

Stipulation. See id. Notwithstanding that the Stipulation was limited only to NIKE and Plaintiff,

Plaintiff’s explicit desire not to set the same date for all defendants to respond to its Complaint, and

that the Stipulation only addressed an extension for NIKE, the Court’s March 12, 2020 Minute Order

(shown below) inaccurately granted “defendants’” joint motion and obligated unnamed “defendants”

to respond to Plaintiff’s Complaint by May 15th.




                   Because they had not been properly served with the Summons and Complaint, and had

not made an appearance in the case, Moving Defendants received no notice of this Minute Order.

Indeed, Plaintiff does not even claim to have attempted service on Uninterrupted or T2 until after the

March 12, 2020 Minute Order issued.



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II.       ARGUMENT

          A.   Moving Defendants Cannot Be Held in Default When They Were Under No
               Obligation to Respond to Plaintiff’s Complaint

               “Before a federal court may exercise personal jurisdiction over a defendant, the

procedural requirement of service of summons must be satisfied. ‘[S]ervice of summons is the

procedure by which a court having venue and jurisdiction of the subject matter of the suit asserts

jurisdiction over the person of the party served.’” Omni Capital Int'l, Ltd. v. Rudolf Wolff & Co.,

Ltd., 484 U.S. 97, 104, 108 S. Ct. 404, 98 L. Ed. 2d 415 (1987) (quoting Miss. Publ'g Corp. v.

Murphree, 326 U.S. 438, 444-45, 66 S. Ct. 242, 90 L. Ed. 185 (1946)), superseded by statute on

other grounds, Futures Trading Practices Act of 1992 § 211, Pub. L. No. 102-546, 106 Stat. 3590

(1992).

               Moving Defendants respectfully submit they have not been under any obligation to

respond to the Complaint because Plaintiff has failed to effectuate proper service of process.

Federal Rule 4(a)(1) specifies the content that a valid summons must contain, inter alia: “(A)

name the court and the parties; (B) be directed to the defendant; … (F) be signed by the clerk; and

(G) bear the court’s seal.” Fed. R. Civ. P. 4(a)(1). The failure to serve a properly completed,

signed, and sealed summons is not a minor or technical defect, but one that is prejudicial to a

defendant and which shows a flagrant disregard for requirements of Rule 4. See Soos v. Niagara

County, 195 F. Supp. 3d 458, 463 (W.D.N.Y. 2016) (citing, e.g., Macaluso v. N.Y. State Dep't of

Envtl. Conservation, 115 F.R.D. 16, 18 (E.D.N.Y. 1986) (“This Court . . . does not view service

of an unsigned, unsealed summons not issued by the court clerk as a mere technical defect. Instead,

it amounts to a complete disregard of the requirements of process set forth clearly and concisely

in Rule 4. Accordingly, the Court declines to exercise its discretion to grant leave to amend

process.”).


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                Here, as shown above, none of the Moving Defendants has ever been served with

a proper and complete Summons signed by the clerk of this Court or which bears this Court’s seal.

This failure alone is sufficient to preclude any obligation to respond to Plaintiff’s Complaint.

Accordingly, defaults should not be entered against any of Moving Defendants.

                Further, and with respect to “ESPN,” the party to which the unsigned and unsealed

Summons was directed (“WALT DISNEY COMPANY doing business as ESPN Enterprises”)

differs from the “defendant” named in the Complaint (“WALT DISNEY COMPANY doing

business as ESPN, Inc.”). Thus, the Summons to “ESPN” is further deficient because it is not

directed to the “defendant” named in the Complaint (putting aside the fact that neither of these

entities even exist).

                Further, and with respect to T2, the clerk still has not issued a signed and sealed

Summons which could have been served. [DKT No. 4].

                Plaintiff has failed its obligation to effectuate proper service of process on any of

Moving Defendants. Fed. R. Civ. P. 12(b)(4). Rather, it appears obvious that Plaintiff’s counsel

attempted to have them served without regard for the clear mandates of Rule 4. Under these

circumstances, Moving Defendants were not and still are not under any obligation to respond to

Plaintiff’s Complaint.

                The Court’s Minute Order of March 12, 2020 also did not obligate the Moving

Defendants to respond to Plaintiff’s Complaint. The only parties to the Stipulation were Plaintiff

and NIKE. [DKT No. 7]; see also Ex. “G.” Because Moving Defendants were not subject to this

Court’s jurisdiction at the time and did not receive notice of the Minute Order, and since Plaintiff’s

request for a default [DKT No. 18] indicates that it did not even attempt to serve two of the Moving




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Defendants until after March 12th, the Minute Order could not have been binding on the Moving

Defendants.

               In sum, there are no grounds for the Moving Defendants to be in default.

Maintaining the defaults would be procedurally improper and highly prejudicial to Moving

Defendants. Accordingly, Moving Defendants respectfully request the defaults be vacated.

        B.     Plaintiff’s Complaint Was Not Served on Moving Defendants in the Time
               Allowed and Should Be Dismissed

               The language of Federal Rule 4(m) is clear, “[i]f a defendant is not served within

90 days after the complaint is filed, the court—on motion or on its own after notice to the

plaintiff—must dismiss the action without prejudice against that defendant or order that service be

made within a specified time.” Fed. R. Civ. P. 4(m). Here, Plaintiff filed its Complaint on

February 18, 2020. [DKT No. 1]. Therefore, the 90-day limit imposed by Rule 4(m) mandated

that Moving Defendants be served no later than May 18, 2020. Plaintiff has not met this obligation.

Accordingly, Rule 4(m) requires the Court to dismiss Plaintiff’s Complaint against Moving

Defendants without prejudice or order that Plaintiff effectuate proper service within a specified

time.

               Under the present circumstances, Moving Defendants respectfully submit

Plaintiff’s Complaint should be dismissed without prejudice to Plaintiff filing an Amended

Complaint.    First, and as further described below, the Complaint against “ESPN” must be

dismissed because Plaintiff attempted to sue an entity that does not exist. Plaintiff was even

informed of this fact more than two months ago. Allowing Plaintiff more time to properly serve a

non-existent entity simply makes no sense. Rather, if Plaintiff desires to file suit against an actual

“ESPN” entity, it may revise and properly serve an Amended Complaint against Uninterrupted,

T2, and an appropriate “ESPN” entity.


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               Second, currently pending before this Court is NIKE’s Partial Motion to Dismiss

the Third and Fifth Claims for Relief of Plaintiff’s Complaint (“NIKE’s Motion”). [DKT No. 16].

The resolution of NIKE’s Motion to Dismiss will have a meaningful impact on the claims that will

ultimately be at issue in this proceeding. It therefore serves the parties’ interests and judicial

economy to dismiss the Complaint against the Moving Defendants while NIKE’s Motion is

pending.

               If Plaintiff were permitted to immediately refile its Complaint (as currently written)

against Uninterrupted, T2, and an appropriate “ESPN” entity, these defendants would need to

expend resources and time filing a motion to dismiss these two counts. Plaintiff would likewise

be obligated to expend additional resources responding to that motion. Conversely, the resolution

of NIKE’s Motion has the potential to set the claims that Plaintiff would ultimately be raising

against all defendants.   At that time, Plaintiff could serve any Amended Complaint on all

defendants.

       C.      Plaintiff’s Complaint Against “WALT DISNEY COMPANY doing business
               as ESPN, Inc.” Should Be Dismissed Because No Such Entity Exists

               Plaintiff initially named “WALT DISNEY COMPANY doing business as ESPN,

Inc.” as a defendant in the Complaint.           [DKT No. 1, p. 1].          Plaintiff subsequently

identified “WALT DISNEY COMPANY doing business as ESPN Enterprises” as a defendant in

its Summons. [DKT No. 3-2]. A defendant cannot be required or expected to guess about who

or what entity a plaintiff intends to sue. This is especially true when neither of the entities named

by the plaintiff exists. See David-Sinatra Dec., ¶¶ 3-5.

               Pursuant to Federal Rule 17(b), the capacity to sue a corporate entity is based upon

the law under which the entity has been organized. Fed. R. Civ. P. 17(b)(2). Accordingly,




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Plaintiff’s ability to sue either of the alleged “ESPN” entities above is limited to whether these

corporations have been organized under the law of any jurisdiction.

               But here, neither of the named entities has been organized under the law of any

state. The Walt Disney Company does not conduct business as ESPN, ESPN, Inc., ESPN

Enterprises, or as any other “ESPN” entity. See David-Sinatra Dec., ¶ 6. Nor is there any evidence

that The Walt Disney Company ever registered “ESPN, Inc.” or “ESPN Enterprises” as a corporate

d/b/a in any jurisdiction. See id. Because none of the preceding entities exist, it is impossible for

Plaintiff to name any of them or d/b/a’s thereof as a corporation that would have the capacity to

be sued under Fed. R. Civ. P. 17(b).

               Since Plaintiff cannot assert claims against an entity that does not exist, the

Complaint against “WALT DISNEY COMPANY doing business as ESPN, Inc.” should be

dismissed with prejudice.

III.   CONCLUSION

               For the reasons set forth above and for good cause shown, Moving Defendants

respectfully request the Court grant the Motion and vacate the defaults entered against Moving

Defendants, dismiss the Complaint against “Walt Disney Company d/b/a/ ESPN, Inc.” with

prejudice, and dismiss Plaintiff’s Complaint against Uninterrupted and T2 without prejudice.

                                                   Respectfully submitted,

 Dated: June 1, 2020                               /Goutam Patnaik/
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                                Uninterrupted LLC, Walt Disney Company
                                d/b/a ESPN, Inc., and Take-Two Interactive
                                Software, Inc.




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                               CERTIFICATE OF SERVICE

              I hereby certify that on June 1, 2020, I electronically filed the foregoing Defendants

Uninterrupted LLC, Walt Disney Company d/b/a ESPN, Inc. and Take-Two Interactive Software,

Inc.’s Motion to Vacate Default Judgment and to Dismiss Complaint of Game Plan, Inc., the

Statement of Points and Authorities in support thereof, and a proposed order via the Court’s

CM/ECF system, which will automatically generate a Notice of Electronic Filing (NEF) to all

counsel of record.




                                             /Goutam Patnaik/
                                             Goutam Patnaik




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